Case 1:11-cr-00026-JPJ    Document 513 Filed 01/21/16      Page 1 of 1     Pageid#:
                                     2792




               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ABINGDON DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )     Case No. 1:11CR00026-05
                                              )
v.                                            )              ORDER
                                              )
CHRIS BERRY,                                  )     By: James P. Jones
                                              )     United States District Judge
                 Defendant.                   )


      Counsel for the United States filed a Motion for a One-Day Extension to

have its response to defendant’s Motion to Vacate, Set Aside, or Correct Sentence

pursuant to 28 U.S.C. § 2255 be considered timely filed. Counsel explains that she

needed an extra day due to additional, unexpected personal and professional

responsibilities. Finding it appropriate, it is hereby ORDERED that the Motion

for a One-Day Extension is GRANTED.

                                            ENTER: January 21, 2016


                                            /s/ James P. Jones
                                            United States District Judge
